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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA


L. LIN WOOD, JR.,                                )
                                                 )
           Plaintiff,                            )
v.                                               )
                                                 ) Case No. 1-21-cv-01169-TCB
PAULA J. FREDERICK, et al.,                      )
                                                 )
       Defendants.                               )
____________________________________


                         AFFIDAVIT OF L. LIN WOOD, JR.


      I, L. Lin Wood, Jr., being duly sworn, depose and state as follows:

      1.      My name is L. Lin Wood. I am over 18 years of age and of sound mind,

and I am capable of making this affidavit. I submit this affidavit in support of the

Plaintiff’s Motion for Preliminary Injunction. I have personal knowledge of the facts

set forth herein, and, if called to testify about those facts, I could and would do so

competently and under oath.

      2.     I am a licensed attorney in the State of Georgia and have been practicing

law in the state for 43 years. In 1997, I formed L. Lin Wood, P.C. (“LLW PC”), a

professional corporation registered to transact business in Georgia, in September of

1997 for the purpose of conducting my law practice. I am and always have been the

President and sole owner and partner of LLW PC.



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      3.      I am currently a resident of South Carolina. I changed my residency

from Georgia to South Carolina on February 1, 2021.

      4.      I received two letters dated January 11, 2021, from Adrienne D. Nash,

acting in her capacity as the State Bar of Georgia Grievance Counsel.




      5.      The letters contained two (2) grievances which had been filed by Mr.

John Bellocchio, Hackensack, NJ, and Mr. Ted Kurt, Maumee, OH.

      6.      The first grievance was dated January 1, 2021 and signed by John

Bellocchio.




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      7.     The grievance stated that I was “guilty of violating Georgia Section 16-

11-1 –TREASON, which states, in part, “…commits the offense of treason when he

knowingly levies war against the state, adheres to her enemies, or gives them aid and

comfort.”

      8.     John Bellocchio, who resides in Hackensack, New Jersey, has never

met or spoken with me. He has never been in an attorney-client relationship with

me. Yet, in his bar grievance filed on January 4, 2021, he accuses me of treason by

“knowingly levying war against the State of Georgia, adhering to her enemies and

giving them aid or comfort”. This false and defamatory allegation by Mr. Bellocchio

is based entirely on a single comment on my personal Twitter account which was



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critical of former Vice-President Mike Pence. It was a comment which was purely

political and rhetorical hyperbole and is thus protected under the First Amendment.

      9.     Ted Kurt, is a retired attorney in Maumee, Ohio. He admits in his bar

grievance that he has never had any direct contact with me, and that he has never

been in an attorney-client relationship with me.




      10.    In his grievance, which was received by the State Bar of Georgia on

December 28, 2020, Mr. Kurt’s sole criticism of me, involves what he characterizes

as “seditious speech” based on his review of my personal Twitter account on

December 14, 2020.

      11.    The comment published by me, which forms the basis of Mr. Kurt’s bar

grievance, reads as follows: “Better be safe than sorry. Make sure you have plenty

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of water, food, flashlights and batteries, candles, radio, 2nd Amendment supplies, and

a plan to meet with leaders in your communities.” After the recent record snowfall

in Texas, I received several thank you emails from Texas residents who credited me

with saving them since they heeded my comments of which Mr. Kurt complains.

      12.    I received two additional letters dated January 26, 2021, from Ms.

Adrienne D. Nash, acting in her capacity as the State Bar of Georgia Grievance

Counsel.




      13.    This letter contained two (2) more grievances filed by Mr. Paul Fine,

an attorney from Chicago, IL, and Ms. Stacy Smith-Goldenberg, an attorney from

Eugene, Oregon.


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      14.   Paul Fine is an attorney in Chicago. He admits in his bar grievance

filed against me that he has never met or spoken with me.

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      15.    Mr. Fine admits that I have never been in an attorney-client relationship

with him.

      16.    Mr. Fine based his bar grievance entirely on a comment published by

me on my personal Twitter account that was critical of former Vice-President Mike

Pence and on certain comments allegedly published by me on January 1, 2021.

      17.    Mr. Fine makes the defamatory and unsupported allegation that because

of my Twitter comment, I must be “either mentally unbalanced, or willing to misuse

the legal process for improper ends.”

      18.    My personal Twitter account comments constitute political, rhetorical

hyperbole and are thus protected speech under the First Amendment and cannot

constitutionally serve as a basis for requiring me to undergo a mental evaluation.

      19.    Ms. Stacey Smith-Goldenberg is an attorney who resides in Eugene,

Oregon.




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      20.   Ms. Smith-Goldenberg admitted in her bar grievance filed against me

that she has never met or spoken with me.

      21.   She admitted that I have never been in an attorney-client relationship

with her.




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      22.    Ms. Smith-Goldenberg claims that the comments on my personal

Twitter account were inciting the “riot and insurrection at the U.S. Capitol on

January 6, 2021.”

      23.    Based on these comments, which at most constitute rhetorical

hyperbole, Ms. Smith-Goldenberg called on the State Bar of Georgia to “revoke my

license to practice law.” I would again reiterate that my comments were of a political

nature and rest on the highest rung of protection under the First Amendment.

      24.    On January 29, 2021, I provided Ms. Paula Frederick via email, an

online interview link with Monica Matthews.




      25.    The email stated:

             “Paula, “Please share the message in the link below with the members

             of the Executive Committee. I hope they make a wise decision and


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            avoid the battle over a medical exam that is unjustified. The bar does

            not regulate my personal right of free speech.”

            https://t.co/lgrko1dcHx   Thank you, Lin.”

      26.   On February 1, 2021, I was copied on a letter from Margaret Ware

Sigman Puccini, in her capacity as Chair, State Disciplinary Board of State Bar of

Georgia to Ms. Nicole Jennings Wade, Mr. Jonathan David Grunberg, G. Taylor

Wilson; Wade, Grunberg, & Wilson, LLC., c/o Mr. Andres M. Beal; Buckley Beal

LLP, a subpoena issued by the State Disciplinary Board pursuant to Bar Rule 4-

202(d) and 4-221(c)(2) based on the grievance filed by Stacy Smith-Goldenberg.




      27.   This letter was styled: In the matter of L.Lin Wood, Jr. – State Bar


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No. 774588.

      28.     The letter/subpoena stated the following:

                    Pursuant to Bar Rules 4-202(d) and 4-221(c)(2) you are hereby
                    commanded to produce the following items:

                 1. Any and all communication in your possession, in any form from
                    January 1, 2020 to present, February 1, 2021, from L. Lin Wood,
                    or L. Lin Wood, P.C., in connection with the claims or
                    counterclaims in Nicole Wade et al. v. L. Lin Wood, Fulton
                    County Superior Court Civil Action No.: 2020CV339937,
                    including communication in support of statements in the verified
                    complaint.
                 2. Any and all communication in your possession in any form from
                    L. Lin Wood or L. Lin Wood, P.C., regarding the alleged assaults
                    referenced in the verified complaint in Nicole Wade et al. v. L.
                    Lin Wood, Fulton County Superior Court Civil Action No.:
                    2020CV339937.

      29.     A letter was sent by me via UPS – Overnight & Electronic email on

February 3, 2021, to Ms. Paula J. Frederick, General Counsel and to the State Bar of

Georgia, Grievance Counsel.




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      30.   This letter was in reference to the Grievance filed by John Bellocchio,

Hackensack NJ and the Grievance filed by Ted Kurt, Maumee, OH.

      31.   In this letter, I enclosed a thumb drive containing a compilation of some

of the most compelling evidence of election fraud.




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      32.   The thumb drive also contains the interview of a very credible

whistleblower whose statements provide substantial support for my public

comments about former Vice-President Mike Pence, John Roberts, the Chief Justice

of the United States Supreme Court, and Rod Rosenstein, the former Deputy

Attorney General.

      33.   I requested in this letter that the evidence must be considered in

connection with the complaints filed against me by the out of state, non-client

citizens and in connection with the reported claims that the State Bar intends to

request that I submit to a mental health examination.

      34.   On February 12, 2021, I received a State Bar of Georgia Grievance

letter containing one thousand six hundred and seventy-seven (1677) pages stating:


            After having considered this matter, the Board, pursuant to Rule 4-203,
            does hereby on its own motion initiate this Grievance as follows: The
            attached information indicates Mr. Wood may have engaged in conduct
            in violation of Georgia Rules of Professional Conduct 1.1, 1.2, 3.1, 3.3,
            4.1. and 4.4, and Bar Rule 4-104.




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      35.   The grievance filed against me references two (2) complaints I filed in

Georgia.

      36.   In the first case, I was the Plaintiff and Georgia Attorney Ray S. Smith,

III of the firm of Smith & Liss, LLC, represented me and prepared the pleadings.

As of this date, it is unknown as to whether the Board is pursuing a disciplinary

action against Mr. Smith.

      37.   Based on a simple and comparative review of my Georgia complaints

and the Dissenting Opinion of Justice Clarence Thomas in Republican Party of

Pennsylvania v. Degraffenreid, (592 U.S. ___(2021) Docket Nos. 20-542 and 20-




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574), his opinion undisputedly establishes that the claims I filed had a valid basis in

law.

       38.    The Complaint does not specify which of the Rules have been violated

in a professional setting.

       39.    Further, each of the non-Georgia cases were filed by other attorneys as

counsel of record. While I had reviewed the substantial, credible, and compelling

evidence of election fraud and wrongdoing compiled by Attorney Sidney Powell, a

highly-respected Texas lawyer, I did not draft the complaints in those actions and

was only “of counsel” in each of those cases, in the event my trial experience was

needed for oral argument or examination of witnesses. I was not engaged by the

Plaintiffs in those cases and had no client contact as I was merely associated by Ms.

Powell in the event she needed my skills and experience as a trial lawyer in the

litigation.

       40.    I am not aware of any disciplinary complaints against any other lawyer

by the State Bar of Georgia in connection with the lawsuits I filed in the State of

Georgia.

       41.    Three of the four Powell election cases were filed in jurisdictions other

than Georgia. The conduct of the lawyers in those cases are governed by the laws

in those jurisdictions.




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      42.    The second part of the Complaint cites various public statements and

private statements, including tweets and social media posts.

      43.    I would not make a comment that I did not have a credible source or

reasonable basis for believing was true, particularly if, as a defamation lawyer, I

would be opening myself up to a challenge of defamation. No individual to date has

filed a defamation action against me or even sent a retraction demand to me in

connection with my published statements on social media. Based on my 26 years of

experience in handling defamation and First Amendment litigation, I am always

careful to never falsely accuse a third person or entity unless a reasonable factual

basis exists for an accusation. Moreover, I am fully aware of the distinction between

political and rhetorical hyperbole and actionable threats of harm. I have never

published a statement on social media without ensuring that my statement was lawful

speech protected by the First Amendment.

      44.    I provided the Bar with the copies of the supporting documents and

evidence that demonstrate the support for those statements.

      45.    I also provided a flash drive to the Bar with that information. In my

transmittal letter, I urged the Bar to fulfill its professional duties and thoroughly

investigate the evidence of election fraud and the accusations of the whistleblower.




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       46.   I have not made any statement to “incite” violence under any applicable

precedent that would violate the Brandenburg test as enunciated in Brandenburg v.

Ohio, 395 U.S. 444 (1969).

       47.   A portion of the State Bar complaint (the WGW civil lawsuit) relies

upon contested allegations in pending litigation arising out of a fee dispute with

lawyers with whom I formerly shared office space and associated on certain of my

cases on a case-by-case basis. I have denied those allegations and they are before a

court for decision as to their credibility. A motion to dismiss that portion of the

WGW civil lawsuit asserting a frivolous fraud claim is pending and I am seeking

attorney fees and expenses for its filing by Plaintiffs.

       48.   I have been informed that I must submit to a mental health or

psychiatric examination, but there is no basis for the Bar’s statement that I “appear[]

to be impaired to practice law” and there is nothing in the Complaint that has dealt

in any way with my conduct in the practice of law.

       49.   At no time has the Bar identified any case in which a client or former

client has complained that my competency or mental acuity was in anyway impaired.

       50.   Pursuant to Rule 4-104, reviews are limited to specific and

“appropriate” examinations that are tied to a “determination” by the “State

Disciplinary Board” that an attorney is impaired or incapacitated in the practice of

law.



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      51.    There has been no such determination; or if there has, I was not invited

to participate in any hearing prior to that determination.

      52.    I have not received copies of that determination, and the basis on which

that determination was made. I have not been allowed to present evidence or

confront witnesses against me.

      53.    On February 11, 2020, I received a letter via electronic mail from Ms.

Paula Frederick which stated:

      “The Board did not reconsider its finding that Mr. Wood may be impaired or
      incapacitated to practice law. Pursuant to Bar Rule 4-104, the Board hereby
      requests that you consent to a confidential evaluation by a medical
      professional. The Board has preliminary identified a medical doctor who has
      agreed to perform the evaluation at the Bar’s expense”




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      54.   I responded by letter via electronic mail on February 18, 2021, that any

request for an independent medical examination, physical or mental, raises very

serious issues of privacy, among other significant concerns.




      55.   This grievance action threatens my bar license and accordingly, my

means of making a living.

      56.   I am also presently handling matters for clients in New York,

Washington D.C., Missouri, and Georgia. The civil litigation with Wade, Grunberg,

& Wilson upon which the Bar is in part relying in pursuing these various actions

against me has been stayed (including discovery in the case) until April 12 in order

for me to make a decision on new counsel in that case. There is a possibility that I



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may have to represent myself in that case to reduce defense costs based on my

familiarity with the facts and status of the case but no final decision on that issue has

been made as of the date of this Affidavit. Also, because of the State Bar’s actions

against me, many lawyers in Georgia are reluctant to represent me at this time.

      57.     I sent a letter dated March 2, 2021 via Email and U.S. Mail – Certified

to Ms. Paula Frederick informing her and the State Bar that the grievance action

lacks factual and legal merit. To date, the Bar has not provided me with the alleged

factual justification for the Bar’s intrusive demand for a mental health examination

and I am aware of no basis for this unprecedented demand on a member of the Bar

of Georgia.




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